         Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 BALANCECXI, INC. D/B/A                             §
 ZACOUSTIC,                                         §
                                                    §
        Plaintiff                                   §
                                                    §   Civil Action No. 1:19-CV-767
 v.                                                 §
                                                    §
 INTERNATIONAL CONSULTING &                         §
 RESEARCH GROUP, LLC,                               §
 CHRISTOPHER DESIMONE, AND                          §
 ADAM OLDFIELD,                                     §
                                                    §
        Defendants.                                 §

______________________________________________________________________________

 DEFENDANT CHRISTOPHER DESIMONE’S MOTION FOR RECONSIDERATION
OF ORDER ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
                        STATES MAGISTRATE JUDGE
______________________________________________________________________________

I.     INTRODUCTION

       Defendant Christopher DeSimone respectfully asks the Court to reconsider its Order

adopting in full the Report and Recommendation of the United States Magistrate Judge (the

“Report”) issuing case terminating and monetary sanctions against Mr. DeSimone.

Reconsideration is appropriate for two narrow reasons. First, the Magistrate Judge’s Report

contains several findings of fact that are manifestly wrong and which should be corrected. Second,

the Report fails to assign any liability to Mr. DeSimone’s prior lawyer, despite recognizing that

Mr. DeSimone followed counsel’s advice in deleting personal files from his computer and despite

his counsel’s own acknowledgement of fault. The result is that Mr. DeSimone—an individual

who had no familiarity with discovery obligations in litigation and who attempted to follow the

advice of counsel—is now subject to death penalty and steep monetary sanctions and must litigate



                                                1
         Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 2 of 11




based on a fact record that is wrong. The Court should correct the errors in the record and assign

some or all of Mr. DeSimone’s joint and several liability to to his prior counsel for the spoliation

that occurred.

II.    RECONSIDERATION IS APPROPRIATE IN THIS CASE

       The courts analyze motions for reconsideration under the standards set forth in Federal

 Rules of Civil Procedure 59(e) and 60(b). Rogers v. KBR Technical Services Inc., 2008 WL

 2337184, at *5 (5th Cir. June 9, 2008). Where, as here, the motion is filed more than ten days

 after the order was entered, the Court should apply the analysis set forth in Rule 60(b). Id. That

 Rule states: “On motion and upon just terms, the court may relieve a party or its legal

 representative from a final judgment, order or proceeding for ... any [ ] reason that justifies

 relief.” Fed. R. Civ. P 60(b)(6). “The purpose of Rule 60(b) is to balance the inclination to

 uphold the finality of a judgment with the ‘command of the court’s conscience that justice be

 done in light of all the facts.’” Watson v. Flores, 2015 WL 1509512, at *2 (W.D. Tex. Apr. 1,

 2015) (quoting Seven Elves, Inc. v. Eskenazi, 635 F.2d 396, 401 (5th Cir.1981)). “To ensure that

 the balance is maintained between preserving the finality of a judgment with the interest in

 ensuring that justice be done, a ruling on a Rule 60(b) motion should show that the full merits of

 the underlying cause had been fully examined.” Watson, 2015 WL 1509512, at *2; Seven Elves,

 635 F.2d at 403.

       Reconsideration is appropriate in this case for two reasons. First, the Court should address

Defendant DeSimone’s specific objections to erroneous findings of fact contained in the

Magistrate Judge’s Report that fundamentally prejudiced Mr. DeSimone. Second, the Court

should reconsider whether the Mr. DeSimone’s prior counsel should bear some or all of Mr.

DeSimone’s financial responsibility for the discovery problems that resulted from counsel’s advice

and representation.


                                                 2
         Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 3 of 11




       A.      The Court Should Correct Errors In The Magistrate Judge’s Findings of Fact

       The law requires the Court to “conduct a de novo review of any Magistrate Judge’s

conclusions to which a party has specifically objected.”        Hernandez v. Frazier, 2013 WL

12142355, at *5 (W.D. Tex. Mar. 25, 2013); 28 U.S.C. § 636(b)(1)(C). In conducting this review,

the Court can and should correct errors in findings of fact. See U.S. v. Wilson, 864 F.2d 1219,

1222 (5th Cir. 1989) (the reviewing court should make “[its] own determination based upon the

record and unrestrained by the findings and conclusions of the magistrate.”).

       In his Objection to the Magistrate Judge’s Report, Defendant DeSimone made several

specific objections to the Magistrate Judge’s findings of fact. In particular, on page 10 of his

Objection, Mr. DeSimone pointed to the following errors:

            Erroneous Finding of Fact                                 Correction

 DeSimone first worked with Zacoustic                 Mr. Lavin does not testify that Zacoustic
 (indirectly) in 2016. This occurred while he was     hired ICAR to manage a beta test of
 employed by ICAR, which had been hired to            Zacoustic software in 2016. Nor is that true.
 manage a beta test of Zacoustic software for an      Instead, Zacoustic hired a company called
 ICAR client that was also a Zacoustic customer.      DayBlink Consulting for this purpose. At the
 Report at 5 (citing Declaration of Tim Lavin, Dkt.   time, Mr. DeSimone was employed by
 12-2, ¶ 5).                                          DayBlink. The beta testing was performed
                                                      for a DayBlink customer, not an ICAR
                                                      customer. DeSimone Decl., ¶ 2.

 After leaving Zacoustic, DeSimone eventually         Mr. Oldfield has never been an ICAR
 resumed working through ICAR, and Oldfield           employee. Instead, as Mr. DeSimone has
 joined him there. DeSimone is ICAR’s sole            testified, Mr. Oldfield was a 1099
 managing member and Oldfield is an employee.         independent consultant who performed work
 Report at 6 (citing Dkt. 30-2 at 1).                 for ICAR in that capacity. See Hr’g Tr. Vol.
                                                      2 at 31:5-7.

 On April 5, 2019, BalanceCXI, through counsel        This is wrong.         As the letter itself
 (David Whittlesey of Shearman and Sterling           demonstrates, Shearman & Sterling
 LLP) sent a letter to DeSimone and Oldfield,         addressed the letter and the request solely to
 requesting the return of the company computers.      Mr. Oldfield. Shearman & Sterling did not
 Report at 6 (citing Letter from Shearman &           copy Mr. DeSimone on the letter, and there
 Sterling, Dkt. 83-13).                               is no evidence in the record that Shearman &




                                                3
        Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 4 of 11




                                                      Sterling ever communicated a similar request
                                                      to Mr. DeSimone.

The [Shearman & Sterling] letter instructed           Again, this is wrong. The letter was not
DeSimone and Oldfield not to make any changes         directed to Mr. DeSimone at all, and there is
to the computers before returning them. Report        no evidence that Shearman & Sterling ever
at 7 (citing Letter from Shearman & Sterling, Dkt.    communicated a similar direction to Mr.
83-13).                                               DeSimone.

DeSimone only produced one [of the requested          Although this entire bullet point is devoted to
external storage devices] for examination—the         actions undertaken by Mr. DeSimone, Mr.
Lexar thumb drive. The examination of the             DeSimone did not use CCleaner to “wipe the
thumb drive showed that on “December 6, 2019,         device” that was produced to Plaintiff. As
CCleaner was used to wipe the device.” Report         Mr. DeSimone testified and Mr. Oldfield
at 12 (quoting Forensic Report, Dkt. 83-1 at 2).      admitted, it was Mr. Oldfield who ran
                                                      CCleaner on Mr. DeSimone’s Lexar thumb
                                                      drive, without Mr. DeSimone’s knowledge
                                                      or permission. Dkt. 83-36 at 186-187; Hr’g
                                                      Tr. Vol. 2 at 27:4-7.

The last computer identified by the examiner is       Contrary to this finding of fact, neither Mr.
Oldfield’s current laptop, which DeSimone             DeSimone nor ICAR purchased any laptop
purchased for him after Oldfield returned his         for Mr. Oldfield. Instead, Mr. DeSimone
previous laptop to BalanceCXI in April 2019.          supplied Mr. Oldfield with a laptop Mr.
Report at 13 (citing Dkt. 83-36 at 181).              DeSimone was given as compensation by a
                                                      third party. DeSimone Decl., ¶ 23.

Thus, despite being told from the outset that they    There are many things wrong with this
were to return their computers “as is” and with no    finding, as discussed in greater detail below.
alterations, DeSimone and Oldfield immediately        First, as mentioned previously, Mr.
disregarded that instruction, and at every turn       DeSimone was not expressly instructed that
they have taken affirmative steps to destroy,         he should return his computer “as is” prior to
delete and wipe data, first from their laptops, and   copying and deleting personal files from that
then from the many devices they transferred data      computer. See DeSimone Decl., ¶ 9. To the
to from those laptops. Twice, on the eve of           contrary, Mr. DeSimone was advised by
turning devices over to BalanceCXI, they used         counsel on two occasions that he should
software to permanently wipe data from the            delete personal files from his company
devices.                                              laptop prior to returning it to the company.
                                                      Hr’g Tr. Vol. 2 at 21:21-23; DeSimone
                                                      Decl., ¶¶ 11, 15. Nor did Mr. DeSimone ever
                                                      wipe data from any device to which he
                                                      transferred personal files. Hr’g Tr. Vol. 2 at
                                                      27:4-7; DeSimone Decl., ¶¶ 11, 15. Instead,
                                                      Mr. Oldfield ran CCleaner on Mr.
                                                      DeSimone’s Lexar Device without Mr.
                                                      DeSimone’s knowledge or permission. Dkt.
                                                      83-36 at 186-187. The other devices that Mr.


                                                4
           Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 5 of 11




                                                    DeSimone connected to his company laptop
                                                    were discarded or lost before any lawsuit was
                                                    filed by BalanceCXI, long before he was on
                                                    notice that those devices might become
                                                    relevant in some undisclosed lawsuit, and
                                                    well before BalanceCXI formally demanded
                                                    production of those devices from Mr.
                                                    DeSimone. See Objection, Section II.C, pp.
                                                    5-7; id. Section II.D, p. 6.



       In addition to pointing out these errors, Mr. DeSimone specifically objected to the way in

which the Magistrate Judge’s Report lumped both individual Defendants together and treated the

actions of one as attributable to the other. See Objection at 12-14. The most egregious example

of this is the Magistrate Judge’s conclusion that Mr. Oldfield and Mr. DeSimone took “very

similar” actions with respect to company information housed on their laptops. See Report at 9. In

his Objection, Mr. DeSimone detailed the ways in which his actions were distinct from that of Mr.

Oldfield’s, making the Magistrate Judge’s conclusion in this regard erroneous:

       •       Prior to beginning the process of copying personal files to the Lexar Device and
               deleting those files from his computer, Mr. DeSimone was not instructed by
               BalanceCXI or its counsel that he should return his laptop or refrain from making
               any alterations to his laptop. See Objection, Section II.C., pp. 5-7.

       •       Mr. DeSimone never had any of BalanceCXI’s source code on his computer.
               DeSimone Decl., ¶ 24; compare Report at 8-9 (describing Mr. Oldfield’s access to
               source code).

       •       There is no evidence that Mr. DeSimone copied any of BalanceCXI’s source code.
               Compare Report at 8 (discussing evidence that Mr. Oldfield copied source code).

       •       Mr. DeSimone did not download a copy of his entire company email file from his
               personal computer to an external device. Compare Report at 8 (discussing evidence
               that Mr. Oldfield did so).

       •       Mr. DeSimone copied and deleted approximately 5% of the volume of materials
               copied and deleted by Mr. Oldfield from his company laptop. Compare DeSimone
               Forensic Notes, Dkt. 83-3 at 3-4, with Oldfield Forensic Notes, Dkt. 83-2 at 2.




                                               5
           Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 6 of 11




       •       Mr. DeSimone had no previous experience with CCleaner or the implications of its
               use to delete files. See Objection, Section II.C., p. 6.

       •       Mr. DeSimone did not destroy or delete any information from any external drive
               onto which he copied files from his company computer. See Objection, Section
               III.A.1, pp. 13-14.

       •       Mr. DeSimone did not discard any external device after he was on notice that the
               device may be relevant and should be produced. See Objection, Section II.C, pp.
               5-6; id., Section II.D, pp. 7-8; id., Section II.E, pp. 8-9.

       •       Contrary to the Magistrate’s conclusion, Mr. DeSimone did not ignore his counsel’s
               instruction to segregate and preserve anything he removed from his company
               laptop. See Report at 22 n.10. Nor did he “admit” that he “used ‘wiping’ software
               to destroy that evidence.” Id.; compare Report at 11-12 (discussing evidence that
               Mr. Oldfield used wiping software on various devices). To the contrary, Mr.
               DeSimone did not access the Lexar Device after he copied his personal files to it,
               did not wipe that device or instruct anyone to do so, and had no idea that Mr.
               Oldfield would wipe that device with CCleaner when he gave it to Mr. Oldfield to
               turn over to counsel. See Objection, Section II.F, pp. 9-10. In other words, the
               “[m]ost troubling” evidence, in the words of the Magistrate, does not apply to Mr.
               DeSimone. See Report at 23.

       •       There are no ShellBags associated with either the FIT Device or Generic USB
               Device, suggesting that no files were copied to those devices from Mr. DeSimone’s
               company laptop. See Hr’g Tr. Vol. 2 at 24:12-25:6; 25:18-26:11.

       •       Mr. DeSimone did not reformat any device attached to a company computer or
               otherwise access any company computer or device after April 9, 2019. Compare
               Report at 13 (describing Mr. Oldfield’s reformatting of a computer).

       •       Mr. DeSimone did not conceal the existence of any external devices in his
               discovery responses. Compare Report at 12 (describing the nondisclosure of an
               additional device that was connected to Mr. Oldfield’s company laptop).

       Finally, the “most troubling” evidence of intent, from the Magistrate’s perspective, does

not apply at all to Mr. DeSimone. In the lynchpin paragraph relating to Defendants’ bad intent,

the Magistrate’s Report says that both Defendants “doubled down on their actions,” by

“tamper[ing] with drives before surrendering them over for examination, and us[ing] data wiping

software once again, permanently deleting hundreds of files from the drives.” Report at 23. With

respect to Mr. DeSimone, this conclusion is entirely incorrect. As noted, Mr. DeSimone did not



                                               6
         Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 7 of 11




access any of the four devices that were supposedly connected to his company laptop after April

9, 2019. See Objection at 18; DeSimone Dec., ¶¶ 16, 21, 22. Nor did he use any data wiping

software on any external device at any point in time. Objection at 18; DeSimone Dec., ¶¶ 18, 21,

22. To the contrary, Mr. DeSimone did exactly as he was instructed by his attorney: he removed

personal files from his company laptop and preserved those files on a Lexar Device. See Objection

at 5-7. The Magistrate’s findings and conclusions to the contrary are wrong.

       To the extent the Magistrate Judge’s Report conflates the actions of the two individual

Defendants or flatly miscites the evidentiary record, those errors are significant and should be

corrected. Although the Court’s Order states that the Court reviewed Mr. DeSimone’s objections

de novo, the Court there are numerous problems with the findings of fact adopted by the Court.

Mr. DeSimone should not be forced to defend himself based on a factual record that is wrong.

Respectfully, Mr. DeSimone requests that the Court vacate those findings of fact regarding Mr.

DeSimone that are erroneous and correct the record so that “justice [may] be done in light of all

the facts.” Watson v. Flores, 2015 WL 1509512, at *2; U.S. v. Wilson, 864 F.2d at 1222.

       B.      The Court Should Reconsider Whether The Individual Defendants’ Attorney
               Should Pay Some Or All Of The Applicable Monetary Sanction

       As Mr. DeSimone pointed out in his Objection to the Magistrate Judge’s Report, there is

ample evidence of record that the discovery problems and delays attributed to Mr. DeSimone in

this case were the result of advice given and actions taken by his prior counsel, Kerry O’Brien of

the O’Brien Law Firm. See, e.g., Objection at 19-20. Pursuant to Federal Rule of Civil Procedure

Rule 37, upon granting a motion for discovery sanctions, a court may “require the party . . . whose

conduct necessitated the motion, the party or attorney advising that conduct, or both to pay the

movant’s reasonable expenses incurred in making the motion, including attorney’s fees.” Fed. R.

Civ. P. Rule 37(a)(5)(A) (emphasis added); see also Orchestrate HR, Inc. v. Trombetta, 178 F.



                                                7
         Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 8 of 11




Supp. 3d 476, 487-88 (N.D. Tex. 2016) (ordering party’s attorney to pay opposing party’s

attorneys’ fees and costs in connection with sanctions for bad faith discovery practices). In this

case, the record supports requiring Defendants’ counsel to pay some or all of the liability imposed

jointly and severally on Mr. DeSimone.

       First, it bears emphasizing that Mr. DeSimone is an individual who has never been involved

in litigation before now. See Objection at 15; DeSimone Decl., ¶ 15. And Mr. DeSimone’s major

transgression—deleting personal files from his company laptop and copying files to the Lexar

Drive on April 9, 2019—was undertaken on the advice of counsel. Objection at 5-7, 18. As set

forth in Mr. DeSimone’s Objection, prior to initiating the deletion process and prior to running

CCleaner for the first time on his laptop, he was advised multiple times by Mr. O’Brien that he

could delete personal files from his company computer. Id. at 8. At the time, Mr. O’Brien did not

even advise Mr. DeSimone that he should segregate those files for later inspection. Id. Nor did

Mr. O’Brien advise Mr. DeSimone that he should preserve ESI that could become relevant to a

later lawsuit between Mr. DeSimone and Plaintiff. Id. Only later did Mr. O’Brien advise Mr.

DeSimone to segregate and store the deleted files on a separate device—advice Mr. DeSimone

followed. Id. Even the Magistrate Judge acknowledged that Mr. O’Brien gave Defendants “the

questionable instruction to violate their employee policy and remove ‘purely personal’ material

from their laptops.” See Report at 22 n.10. Further, up through the last moment that Mr. DeSimone

accessed his company laptop on April 9, 2019, his counsel never advised him to implement a

“litigation hold,” never explained the concept of spoliation, and never advised him that he had a

duty to preserve any potentially relevant ESI in his possession, custody, or control. Objection at

4, 8; DeSimone Decl., ¶ 15.




                                                8
          Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 9 of 11




        The record also supports a finding that any discovery delays—necessitating meet and

confers and the motion to compel for which Plaintiffs now seek their attorneys’ fees—were the

fault of Mr. DeSimone’s prior counsel. As Mr. DeSimone has testified, each time his counsel

asked him to provide ESI or other materials for production in this lawsuit, Mr. DeSimone complied

with the request almost immediately. See Hr’g Tr. Vol. 2 at 29:10-19; DeSimone Decl., ¶¶ 17-18.

Upon hiring Mr. O’Brien and before he was given any instruction with respect to his laptop, Mr.

DeSimone told Mr. O’Brien that he had three devices that needed to be returned to BalanceCXI.

See DeSimone Decl., ¶ 10. Five days after hiring Mr. O’Brien and before any lawsuit was ever

filed, Mr. DeSimone voluntarily surrendered his company laptop and two other computers for

return to the company. Id., ¶ 17. On the same day Mr. DeSimone was first told by his counsel

that he would need to produce the Lexar Device, Mr. DeSimone handed it off to Mr. Oldfield for

return. Id., ¶ 18.1 Each time Mr. O’Brien sought additional documents from Mr. DeSimone, he

promptly complied. As Mr. O’Brien himself represented in discussing the possibility of potential

sanctions with Magistrate Judge Austin during the initial hearing on Plaintiff’s motion to compel,

“the Court may order [sanctions] against the clients or against my firm, I don’t care. I’m going to

be paying it.” Ex. E, Excerpt from Transcript of Motion Hearing Before the Honorable Andrew

W. Austin at 62:4-23. Mr. O’Brien later provided sworn testimony that “Adam and Chris were

timely in getting me the required materials and did whatever I asked them to do in order to comply

with the Order [compelling production].” Dkt. 68-4, ¶ 5. Mr. O’Brien also has taken responsibility

for failures with respect to the preservation of metadata and errors with respect to Mr. DeSimone’s

interrogatory responses. See id., ¶¶ 6, 13.


1
 As Mr. DeSimone testified, the reason he handed the device to Mr. Oldfield is because both individuals were in
Dallas on business at the time their counsel asked Mr. DeSimone to turn over the Lexar device, and Mr. DeSimone
believed he could get the device to counsel more quickly by giving it to Mr. Oldfield—who was headed home to
Austin and who could deliver the device to Mr. O’Brien in person. Objection at 8.


                                                       9
        Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 10 of 11




       In short, Mr. DeSimone’s counsel played a major role in the spoliation and discovery

delays occasioned in this lawsuit. With respect to Mr. DeSimone, unlike Mr. Oldfield, every act

of purported spoliation occurred only on the advice of counsel. Notwithstanding counsel’s advice

and actions, Mr. DeSimone now faces joint and several liability for hundreds of thousands of

dollars in fees and costs. Mr. O’Brien should bear some or all of that cost. The Court should

reconsider its Order assigning 100% of that liability jointly and severally to Mr. DeSimone.

III.   CONCLUSION

       For all the foregoing reasons, Defendant DeSimone respectfully requests that the Court

reconsider its Order adopting the Magistrate Judge’s Report and Recommendations in full so that

it can (1) correct errors in the Magistrate Judge’s findings of fact, and (2) assign some or all of Mr.

DeSimone’s joint and several liability for fees to his prior counsel, Kerry O’Brien.



 Dated: March 3, 2021                                  Respectfully submitted,

                                                       /s/ Amy L. Ruhland
                                                       Amy L. Ruhland (Rudd)
                                                       Texas Bar No. 24043561
                                                       Amy.Ruhland@us.dlapiper.com
                                                       DLA PIPER LLP (US)
                                                       401 Congress Avenue, Suite 2500
                                                       Austin, TX 78701-3799
                                                       Telephone: (512) 457-7000
                                                       Facsimile: (512) 457-7001

                                                       ATTORNEY FOR DEFENDANT
                                                       CHRISTOPHER DESIMONE




                                                  10
        Case 1:19-cv-00767-RP Document 116 Filed 03/03/21 Page 11 of 11




                               CERTIFICATE OF SERVICE

      I hereby certify that on the 3rd day of March, 2021, I certify that I served the foregoing
document on all counsel of record via the Court’s CM/ECF filing system.

                                                /s/ Amy L. Ruhland
                                                Amy L. Ruhland (Rudd)




                                              11
